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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

RAYVON WALKER,
Plaintiff,

Vv. Civil Action No. 3:21CV390

FLUDD, et al.,
Defendants.

MEMORANDUM OPINION

By Memorandum Order entered on July 9, 2021, the Court conditionally docketed the
plaintiff's action. At that time, the Court admonished the plaintiff that he “must immediately
advise the Court of his new address in the event that he is transferred, released, or otherwise
relocated while the action is pending.” (ECF No. 3, at 3.) The Court specifically warned the
plaintiff that “FAILURE TO DO SO WILL RESULT IN DISMISSAL OF THE ACTION.”
(/d.) By Memorandum Order entered on August 9, 2021, the Court directed the plaintiff to “submit
an initial partial filing fee of $7.84 or state under penalty of perjury that he does not have sufficient
assets to pay such a fee.” (ECF No. 7, at 1.) On August 17, 2021, the United States Postal Service
returned the August 9, 2021 Memorandum Order to the Court marked, “RETURN TO SENDER,”
and “Not at Jail.” (ECF No. 8.) Since that date, the plaintiff has not contacted the Court to provide
a current address. The plaintiffs failure to contact the Court and provide a current address
indicates his lack of interest in litigating this action. See Fed. R. Civ. P. 41(b). Accordingly, the
action will be DISMISSED WITHOUT PREJUDICE.

An appropriate Order shall accompany this Memorandum Opinion.

Okt
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Date 6 September 2021 Is/ i L.

Richmond, VA
° John A. Gibney, a Al
United States District Judge

 

 

 

 
